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     Attorney for Defendant
 5
     NGAI CHUNG HUNG
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10                                       SACRAMENTO DIVISION

11
                                                        )
12   UNITED STATES OF AMERICA,                          )   Case No. CR S 09-0438-03 WBS
                                                        )
13                              Plaintiff,              )   AMENDED STIPULATION AND
                                                        )   [PROPOSED] ORDER TO MODIFY
14         vs.                                          )
                                                        )   CONDITIONS OF SUPERVISED
15                                                      )   RELEASE TO ALLOW TRAVEL
                                                        )
16   NGAI CHUNG HUNG,                                   )
                                                        )
17                              Defendants.             )
18
19           It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
20   AMERICA, through its counsel of record, Heiko P. Coppola, Assistant United States
21   Attorney, and Defendant, NGAI CHUNG HUNG, through his counsel of record, Joseph
22   J. Wiseman, that Defendant’s conditions of supervision be modified to permit him to
23   travel out of the country for a family matter.
24           Specifically, Mr. Hung wishes to travel to Hong Kong for approximately two
25   weeks to visit with his family. Mr. Hung expected to travel in November and remain
26   there for no more than two weeks. He will return to California before the end of
27   November. The exact dates have not been confirmed, pending this Court’s approval of
28   his travel request.

                                                        1
     Amended Stipulation and Proposed Order To Modify                         CR S 09—0438 EJG WBS
     Conditions of Supervised Release To Allow
     Travel
      Case 2:09-cr-00438-WBS Document 109 Filed 10/02/15 Page 2 of 2



 1           In March 2015, Mr. Hung traveled to China, without incident and with
 2   permission of this Court, for a one-week visit when his wife underwent surgery.
 3           Mr. Hung’s probation officer, Daniel Zurita, has no objection to this request for
 4   travel; however, the officer did request approval from the Court for international travel.
 5           Therefore, undersigned are entering into this stipulation to request this
 6   modification be made to defendant’s supervised release enabling Defendant to travel to
 7   Hong Kong to visit his family.
 8           It is so stipulated.
 9   Dated: October 1, 2015                             Respectfully submitted,
10                                                      WISEMAN LAW GROUP, P.C.
11                                                      By:    /s/ Joseph J. Wiseman
                                                               JOSEPH J. WISEMAN
12
                                                               Attorney for Defendant
13                                                             NGAI CHUNG HUNG

14   Dated: October 1, 2015                             BENJAMIN B. WAGNER
                                                        United States Attorney
15
16                                                      By:      /s/ Heiko P. Coppola
                                                              HEIKO P. COPPOLA, AUSA
17                                                            Attorney for Plaintiff
18                                                            UNITED STATES OF AMERICA

19
                                                    ORDER
20
21
             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
22   conditions for supervised release of defendant, NGAI CHUNG HUNG, be modified as
23
     noted above to permit the defendant to travel to Hong Kong for a two-week visit in
24   November 2015, and returning to California before November 30, 2015. All other
25
     conditions of supervised release shall remain in force.
26
     Dated: October 1, 2015
27
28

                                                          2
     Amended Stipulation and Proposed Order To Modify                             CR S 09—0438 EJG WBS
     Conditions of Supervised Release To Allow
     Travel
